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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                              4:13-CR-3057

vs.
                                                               ORDER
SCOTT USHER and ROBIN USHER,

                    Defendants.

       This matter is before the Court on defendant Robin Usher's objection1
(filing 50) to the Magistrate Judge's order (filing 47) denying her motion
(filing 34) to sever her trial from that of her co-defendant pursuant to Fed. R.
Crim. P. 14. The objection will be overruled.
       A district court may reconsider a Magistrate Judge's ruling on
nondispositive pretrial matters only where it has been shown that the ruling
is clearly erroneous or contrary to law. See, 28 U.S.C. § 636(b)(1)(A); Ferguson
v. U.S., 484 F.3d 1068 (8th Cir. 2007). The Court has reviewed the
defendant's objection and the government's response, the underlying motion
and briefs, and the evidence adduced before the Magistrate Judge. Being
fully advised in the premises, the Court agrees with the Magistrate Judge's
ruling, and overrules the defendant's objection for the reasons explained by
the Magistrate Judge in her memorandum and order (filing 47).

        IT IS ORDERED that the defendant's objection (filing 50) is overruled.

        Dated this 25th day of November, 2014.

                                               BY THE COURT:



                                               John M. Gerrard
                                               United States District Judge

1 The Court notes that the objection was filed by Robin's counsel on behalf of both
defendants. The Court assumes this was simply a docketing error: the motion to sever was
only filed on Robin's behalf.
